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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF OKLAHOMA

MEAGAN PRESTRIDGE-HUNT,                         )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   Case No. CIV-12-1263-M
                                                )
OLD CHICAGO RESTAURANT, et al.,                 )
                                                )
       Defendants.                              )

                            ADMINISTRATIVE CLOSING ORDER

       On the representation from counsel for the parties, that the parties have reached a

settlement and compromise, it is ordered that the Clerk administratively terminate this action in

his records without prejudice to the rights of the parties to reopen the proceeding for good cause

shown, for the entry of any stipulation or order, or for any other purpose required to obtain a

final determination of the litigation.

       If the parties have not reopened this case within 30 days of this date for the purpose of

dismissal pursuant to the settlement compromise, Plaintiff's action shall be deemed to be

dismissed with prejudice.

       IT IS SO ORDERED this 22nd day of August, 2014.
